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                          United States Bankruptcy Court
                            Southern District of Florida
                             Fort Lauderdale Division


In Re: Stephen Martin Sadkin,                                  Case No. 08-27057
            Debtor.
______________________________/

Yoshiko Stonecypher aka Kathy Lester
and Patricia A. Stonecypher
aka Patricia Markley

            Plaintiffs,                              Adv. Case No._____________
vs.

Stephen Martin Sadkin,

          Defendant.
_______________________________/

          Complaint for declaration of non-dischargeability of debts

      Plaintiffs sue the Defendant for damages and for a declaration of non-

dischargeability of debts and say:

                          VENUE AND JURISDICTION

1.    Plaintiff, Yoshiko Stonecypher aka Kathy Lester, is a person over the age of
      21 and is sui juris.

2.    Plaintiff, Patricia A. Stonecypher aka Patricia Markley, is a person over the age
      of 21 and is sui juris.

3.    This Court has jurisdiction over the parties and the subject matter of this action
      by virtue of the filing of a voluntary petition in bankruptcy by the Debtor.

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4.    Venue is proper in this Court.

5.    Defendant was a member of a company named IRD Osprey, LLC that was
      created in connection with the Indian River Development in which the Debtor
      was a principal.

6.    Defendant requested a loan from the Plaintiffs which took the form of a
      purchase of a parcel of real estate at the Indian River/Aquarina Development.

7.    The parcel which was intended to be and which was represented to be deeded
      to Plaintiffs was the boat storage area.

8.    Plaintiffs delivered the sum of $165,000 to Defendant or to others at his
      direction for his use and benefit.

9.    Plaintiffs were provided with a Statutory Warranty Deed (“Deed”) which was
      supposed to transfer the real property (boat storage area) (which was income
      generating) to the Plaintiffs with the understanding that the Developer would
      buy it back in the future.

10.   Defendant signed the Deed to Plaintiffs. A copy of the Deed is attached hereto
      and incorporated herein for all purposes.

11.   Defendant led Plaintiffs to believe that the advancement of this money was
      secured.

12.   Defendant assured Plaintiffs through Frank Alter that the Deed was proper in
      all respects and that it was properly executed and performed such that Plaintiffs
      would receive the ownership interest in the real property.

13.   This Deed was recorded.

14.   The debtor or his affiliated company, made payments on the loan arrangement
      until late 2007, at which time the payments ceased.

15.   At that time, Plaintiffs consulted with other counsel and discovered that the

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      Deed never transferred the title to any property to the Plaintiffs.

16.   The “grantor” (IRD Osprey, LLC) never owned the parcel of property
      described in the Deed.

17.   Plaintiffs are informed and believe that the parcel described in the Deed was
      not even the parcel intended to be transferred as it was intended that the “boat
      storage area” which was income generating, be transferred.

18.   Plaintiffs are informed and believe that but for these errors in the Deed
      Plaintiffs would have recovered some or all of the principal of this debt or
      would have the ownership of valuable real property.

19.   As the direct and proximate result of the actions and omissions of the
      Defendants, Plaintiffs have been damaged.

20.   As the result of these conditions, Plaintiffs incurred additional attorneys fees
      in an attempt to mitigate their losses.

21.   Plaintiffs made demand upon the Defendant to cure this situation, but he
      Defendant ignored the request.

22.   Defendant knew or should have known that the Deed was ineffectual in
      transferring the title or any title to any real estate to the Plaintiffs.

23.   Defendant defrauded the Plaintiffs.

24.   As the direct and proximate result of this fraud by Defendant, Plaintiffs have
      lost their investment of $165,000, plus attorney fees incurred in attempts to
      mitigate the losses.

25.   This debt should be declared non-dischargeable pursuant to 11 U.S.C. Section
      523(a)(2)(A) and (a)(2)(B).

Wherefore Plaintiff, LKC Corporation demands an award of damages against the
Defendant , an award of costs, a declaration that the debt is non-dischargeable and
any other or further relief that may be justified in the circumstances.

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I HEREBY CERTIFY that I am admitted to Bar of the United States District Court for the Southern District
of Florida and that I am in compliance with the additional qualifications to practice in this court as set forth
in Local Rule 2090(a).

         Dated this 9th day of February, 2009.

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                                    BY: ________S/___________________
                                         SCOTT ALAN ORTH
                                         Fla Bar No.: 436313


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